                 SIXTH DISTRICT COURT OF APPEAL
                        STATE OF FLORIDA
                       _____________________________

                            Case No. 6D2023-3995
                        Lower Tribunal No. 22CF-15069
                       _____________________________

                           SYNCERE JA’TARON TRICE,

                                   Appellant,
                                        v.

                               STATE OF FLORIDA,

                                    Appellee.
                       _____________________________

                  Appeal from the Circuit Court for Lee County.
                               Bruce Kyle, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

TRAVER, C.J., and MIZE and GANNAM, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Brett S. Chase, Special Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Wendy Buffington, Senior
Assistant Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
